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  15
                          UNITED STATES DISTRICT COURT
  16                     CENTRAL DISTRICT OF CALIFORNIA
  17
        JAMAL JOHNSON, on behalf of              CASE NO.: 5:19-cv-02456-FMO-SP
  18    himself and all others similarly
        situated,                                CLASS ACTION
  19
                        Plaintiff,               PLAINTIFF’S NOTICE
  20                                             REGARDING PROPOSED
        vs.                                      INTERVENING PARTY MOSS
  21                                             BROS. CJD, INC.’S MOTION TO
                                                 COMPEL ARBITRATION AND
  22    MOSS BROS. AUTO GROUP, INC.              STAY PROCEEDINGS
        a California Corporation
  23
                                                  Date: July 30, 2020
  24                   Defendant.                 Time: 10:00 a.m.
                                                  Ctrm: 6D
  25
                                                  Judge: Hon. Fernando M. Olguin
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   1           PLAINTIFF’S NOTICE REGARDING CJD, INC.’S MOTION
                TO COMPEL ARBITRATION AND STAY PROCEEDINGS
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   3         Plaintiff Jamal Johnson hereby gives notice of discovery developments that
   4   may affect the Court’s determination of proposed Intervening Party Moss Bros. CJD,
   5   Inc’s (“CJD”) Motion to Compel Arbitration, filed on July 2, 2020, [DE 57].
   6         Specifically, Plaintiff gives the Court notice that he is currently in the process
   7   of moving to compel Defendant’s responses to Plaintiff’s discovery requests,
   8   including compelling production of documents relevant to CJD’s argument that (1)
   9   Plaintiff named the wrong defendant, see CJD’s Motion, [DE 57] at pg. 2, and (2)
  10   “that Defendant Moss Bros. is obviously an agent of CJD Moreno Valley[.]” CJD’s
  11   Reply, [DE 65] at pgs. 5:15-17. Although Defendant previously responded to
  12   discovery by stating it would produce documents for some request, 1 it has now taken
  13   the position that it will not produce any documents and is moving for a protective
  14   order. 2 This in spite the Court’s Initial Order’s directive that a motion does not stay
  15   discovery. [DE 12] (referring the Parties to the Court’s Initial Standing Order).
  16         The documents that Defendant is withholding include communications
  17   between Susan Anderson (Defendant’s—not CJD’s—employee) and the vendors
  18   used to transmit the messages at issue in this matter. Plaintiff believes that these
  19   emails will show that Defendant, not CJD, ordered, directed, and crafted the subject
  20   marketing campaign. Plaintiff was recently made aware of these emails by one of the
  21   non-party’s hired to transmit the subject ringless voicemails. 3 However, the non-
  22

  23   For example, Defendant’s April 4, 2020 response to RFP No. 24 stated, after listing
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     objections, “Moss Bros. will produce non-privileged documents in its possession,
  24 custody, or control following the entry of a protective order.” A stipulated protective
     order was entered on May 12, 2020. [DE 51].
  25 2 See, Email Between Counsel, attached as Exhibit A, at pg. 2 (stating, inter alia,

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     “we seek a stay of all party and third-party discovery until the motion to compel
     arbitration—which will determine Plaintiff’s right to discovery under the FRCP—is
     resolved. […] In the meantime, no discovery will be provided.”) (emphasis in original).
  27 3 See, Email from Non-Party Vendor Ideal Direct Ad’s Counsel, attached as Exhibit B,
     (stating that Ideal is in possession of “a few emails with Susan Anderson” among other
  28 documents).

                         NOTICE REGARDING MOTION TO COMPEL ARBITRATION
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   1   party, following Defendant’s lead, has taken the position that it does not have to
   2   comply with Plaintiff’s subpoena until after the Court rules on the pending motion.
   3         Defendant’s portion of the Joint Stipulation Regarding Plaintiff’s Motion to
   4   Compel is due August 3, 2020, whereupon Plaintiff will file his request for this Court
   5   to order Defendant to comply with its discovery obligations.
   6

   7   Dated: July 29, 2020
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   9   Respectfully submitted,
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                         NOTICE REGARDING MOTION TO COMPEL ARBITRATION
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